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                               UNITED STATES DISTRICT COURT
                               EASTERN DISTRICT OF MICHIGAN




  United States of America,

                                     Plaintiff,

  v.                                                      Case No. 2:22−cr−20504−JJCG−DRG
                                                          Hon. Jonathan J.C. Grey
  Aws Mohammed Naser,
                                     Defendant(s),




                                        NOTICE TO APPEAR

       The following defendant(s) are hereby notified to appear: Aws Mohammed Naser

     The defendant(s) shall appear before District Judge Jonathan J.C. Grey at the United
  States District Court, Theodore Levin U.S. Courthouse, 231 W. Lafayette Boulevard, Room
  250, Detroit, Michigan, for the following proceeding(s):

         • SENTENCING: October 6, 2025 at 03:00 PM

       ADDITIONAL INFORMATION:            Sentencing Memos are due one week prior



                                        Certificate of Service

     I hereby certify that this Notice was electronically filed, and the parties and/or counsel of
  record were served.

                                                  By: s/Sandra A Osorio
                                                      Case Manager

  Dated: June 4, 2025
